Case 1:20-cv-08786-GHW Document 10-11 Filed 10/26/20 Page 1927 02/07/2020

K&§
22-19 160 Street
Whitestone, NY 11357

 

Telephone : 718)767-2808 Fax: 347)438-1053
Ship To: #9LES ESSEN 22 LLC Risa’ To:
699 6Ave 22st
Ny, NY 10010 02/02/2020 02/07/2020

212) 633-0820

 

 

 

 

 

 

Shipped Amont Payment

02/02 Sunday 0.00 0.00
02/03 Monday 2012.90 2014.40
02/04 Tuesday 2029.60 2374.30
02/05 Wednesday 1905.60 1729.60
02/06 Thursday 2069.30 1956.60
02/07 Friday 2093.80 1835.00

Shipped Total 10111.20 Paid Total 9909.90

Delivery Charge 0.00 Credit Memo

Credit 0.00
Toot Date +/- Qty Item Price Amount
Sub-Total (+) 10,111.20 9 -----------------+--+-+++++---- 2-422 4---+-
Prev.Balance(+) 327,724.97 02/06 + 5 mango rt-36.5 0.00 0.00
Payment 9,909.90 Credit Total 0.00

Current Balance 327,926.27

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

AR Aging Report Current Balance 327,926.27
Ist Week 10,111.20 Received Amount (-)
2nd Week 0.00 This Week Balance
3rd Week & Over 317,815.07 Received By
Paid By

 

 

 

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 3(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.

All interest, costs, attorney's fees due seller shall be considered sums owing in connection with this transaction uner the PACA trust.
K&S Case 1:20-cv-08786-GHW Document 10-11 mbes. 10/e6b4GaoRage 2 Of 27 347)438-1053

 

 

 

 

INVOICE
ShipTo: # 9LES ESSEN 22 LLC Invoice No. 341915
699 6GAve 22st
NY, NY 10010 Date 02/03/2020
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
RED EX FANCY 80 USA 1 31.00 31.00 | BANANA BNA ECU 2 17.00 34.00
GRANNY SMITH 80 USA 1 33.00 33.00 | MESCLUN SALAD MESC USA 10 7.50 75.00
STAR RUBY Cc USA 1 29.00 29.00] EGG EX/LOOSE EXLOO USA 5 34.50 172.50
NECTARINE CALI c USA 1 26.00 26.00
WATERMELON SEED USA 1 38.00 38.00
JUICE ORANGE 100 USA 5 20.00 100.00
SUNKIST ORANGE 56 USA 1 28.00 28.00
STRAWBERRY xXF USA 5 22.00 110.00
RASPBERRY A USA 3 21.00 63.00
BLUEBERRY A USA 3 16.00 48.00
BLACKBERRY A USA 2 11.00 22.00
AVOCADO HASS# RIPE MEX 3 42.00 126.00
MANGO MEXICAN c MEX 5 6.00 30.00
LIME 48 MEX 1 8.00 8.00
TOMATO #1 5X6 USA 1 21.00 21.00
TOMATO PLUM Cc MEX 1 17.00 17.00
TOMATO CHERRY c USA 1 25.00 25.00
TOMATO GRAPE R USA 2 11.00 22.00
TOMATO GRAPE YE USA 1 26.00 26.00
ROMAINE CA-A USA 1 17.00 17.00
CABBAGE GR GR USA 1 14.00 14.00
CAULIFLOWER c USA 1 28.00 28.00
BROCCOLI CROWN CROW USA 2 15.00 30.00
RABE ANDY USA 1 35.00 35.00
SPINACH BUSH USA 1 27.00 27.00
SPINACH BABY BA/SP USA 6 6.50 39.00
GREEN KALE KALE USA 2 16.00 32.00
BRUSSEL SP LOOSE USA 1 33.00 33.00
BABY ARRUGULA BA USA 6 14.00 84.00
CILANTRO c USA 1 18.00 18.00
PEPPER GREEN GR USA 1 14.00 14.00
PEPPER RED RED USA 1 29.00 29.00
YELLOW PEPPER YELL USA 2 15.00 30.00
JALAPINO JALPN HOL 1 17.00 17.00
CUCUMBER CUM MEX 1 24.00 24.00
SQUASH GREEN GR USA 1 20.00 20.00
GARLIC JAR J/15L CHN 1 36.00 36.00
GINGER 10LB 10LB CHN 1 16.00 16.00 Total Boxes: 103.0
MUSHROOM WASH 10LB USA 2 17.00 34.00 Delivery § : 133.90
MUSH SPECIAL 10S8P USA 2 18.00 36.00
PORTABELLA MUS M PO2 USA 3 9.50 28.50 Shipment : 2,012.90
YAM #1 YAM USA 1 18.00 18.00 | ----------------------------------------------
POTATO IDAHO 90 USA 1 24.00 24.00
CARROT LOOSE LOOSE USA 1 23.00 23.00 Cash Receipt:
ONION SPANISH SPI USA 1 16.00 16.00 | —------------------------=-=------------------
ONION RED RD-J USA 1 12.00 12.00
SPROUT BEAN USA 1 8.00 8.00 Signature
PINE GOLDEN GOL USA 2 26.00 52.00

 

 

 

Printed on Oct 12, 2020

*eeeee Balance : 327,724.97

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&§ Case 1:20-cv-08786-GHW Document 10-11 fill@d.19/46/2PghRage 3 of.27 347)438-1053

 

 

 

 

 

 

 

 

INVOICE
ShipTo: # 9LES ESSEN 22 LLC Invoice No. 341955
699 GAve 22st
NY, NY 10010 Date 02/04/2020
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
GRANNY SMITH 80 USA 1 33.00 33.00 / SPROUT BEAN USA 1 8.00 8.00
STAR RUBY Cc USA 1 28.00 28.00] PINE GOLDEN GOL USA 2 24.00 £48.00
KIWI LOOSE LLOO USA 1 25.00 25.00] BANANA BNA ECU 2 17.00 34.00
CANTALOUP c USA 1 12.00 12.00] MESCLUN saALAD MESC USA 12 7.50 £90.00
HONEY DEW Cc USA 1 14.00 14.00] EGG ExX/LOOSE EXLOO USA 5 34.50 172.50
JUICE ORANGE 100 USA 1 20.00 20.00 | CHEESE FETTA CH/FE USA 1 49.00 49.00
SUNKIST ORANGE 56 USA 1 28.00 28.00] ScALLION KING USA 1 20.00 # 20.00
STRAWBERRY CAL USA 4 18.00 72.00
RASPBERRY A USA 3 21.00 63.00
BLUEBERRY A USA 3 16.00 48.00
BLACKBERRY A USA 2 10-00 20.00
AVOCADO HASS c USA 1 38.00 38.00
AVOCADO HASS# RIPE MEX 3 41.00 123.00
MANGO MEXICAN c MEX 5 6.00 30.00
TOMATO #1 5X6 USA 2 20.00 40.00
TOMATO PLUM Cc MEX 1 18.00 18.00
TOMATO CHERRY c USA 1 26.00 26.00
TOMATO GRAPE R USA z# A100 22.00
LETTUCE . ICEBERG A USA 1 18.00 18.00
ROMAINE CA-A USA 2 27.00 51.00
CABBAGE RED RED USA 1 19.00 19.00
CAULIFLOWER c USA 1 25.00 £25.00
BROCCOLI CROWN CROW USA 3 13.00 39.00
ASPARAGUS LG USA 1 26.00 26.00
CELERY c USA 1 18.00 18.00
SPINACH BABY BA/SP USA 6 6.50 39.00
GREEN COLLARD COALD USA 1 15.00 15.00
GREEN KALE KALE USA 2 16.00 32.00
SNOWPEA A USA 1 19.00 £19.00
ALFALFA CUP USA i: 22.00 12.00
BRUSSEL SP LOOSE USA 1 32.00 32.00
BARBY ARRUGULA BA USA 5 13.50 67.50
CILANTRO & USA 1 18.00 18.00
PEPPER GREEN GR USA 1 14.00 14.00
PEPPER RED RED USA 1 27.00 # £27.00
YELLOW PEPPER YELL USA 1 16.00 16.00
CUCUMBER CUM MEX 2 20.00 40.00
SQUASH GREEN GR USA 1 16.00 16.00 Total Boxes: 107.0
GINGER 10LB 10LB CHN 1 18.00 18.00 Delivery §$ : 139.10
MUSHROOM WASH 10LB USA 2 17.00 £34.00
MUSH SPECIAL 10SP USA 2 18.00 36.00] Shipment : 2,029.60
PORTABELLA MUS M PO2 USA 1 9.50 9.50 | -r rrr nnn nnn nna - = 5-5 ----
EGGPLANT c USA 1 16.00 16.00
POTATO IDAHO 90 USA 2 25.00 50.00 Cash Receipt:
POTATO RED A BOX BOX A USA 1 28.00 28.00 | -o nnn nn nn nnn nnn 5 5 5 + ---
CARROT LOOSE LOOSE USA 2 23.00 46.00
ONION SPANISH SPI USA 1 16.00 16.00] Signature
ONION RED RD-J USA 1 22.100 12.00
Printed on Oct 12, 2020 *¥**ee* Balance : 327,723.47

ine perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
 

 

 

 

 

 

 

K&S Case 1:20-cv-08786-GHW Document 10-11 Fillad:19/8fAMshRage 4 OfB7. 347438-1053
INVOICE
ShipTo: # 9LES ESSEN 22 LLC Invoice No. 342024
699 GAve 22st
NY, NY 1001 Date 02/05/2020
Item Type Origin QTY Price Amount | jtem Type Origin QTY Price Amount
RED EX FANCY 80 USA 1 31.00 31.00[ EGG BROWN/cT BR/CT USA 1 43.00 43.00
GRANNY SMITH 80 USA 1 31.00 31.00] CHEESE FErTaA CH/FE USA 1 49.00 49.00
SEEDLESS GREEN GR USA 1 36.00 36.00] SQUASH BUTTERNUT BUTN USA 1 26.00 26.00
SEEDLESS RED RED USA 1 35.00 35.00
WATERMELON SEED USA 1 38.00 38.00
JUICE ORANGE 100 USA 2 20.00 40.00
LEMON SK SK/L USA 1 33.00 33.00
STRAWBERRY CAL USA 4 18.00 72.00
RASPBERRY A USA 3 20.00 60.00
BLUEBERRY A USA 4 17.00 68.00
BLACKBERRY A USA 2 11.00 22.00
AVOCADO HASS# RIPE MEX 3 41.00 123.00
MANGO MEXICAN c MEX 7 6.00 42.00
TOMATO #1 5X6 USA 2 19.00 38.00
TOMATO PLUM c MEX 1 19.00 19.00
TOMATO GRAPE R USA 2 11.00 22.00
TOMATO GRAPE YE USA 1 26.00 26.00
ROMAINE CA-A USA 3 15.00 45.00
CAULIFLOWER C USA 2 22.00 44.00
BROCCOLI CROWN CROW USA 2 13.00 26.00
ASPARAGUS LG USA 1 23.00 23.00
CELERY c USA 1 18.00 18.00
SPINACH BUSH USA 1 27.00 27.00
SPINACH BABY BA/SP USA 6 6.50 39.00
GREEN COLLARD COALD USA 1 15.00 15.00
BRUSSEL SP LOOSE USA 1 30.00 30.00
BASIL ISRAEL Is ISR 1 13.00 13.00
BABY ARRUGULA BA USA 5 12.50 62.50
DILL 3PCS USA 1 2.50 2.50
BEETS 25LB LBAG CAN 1 10.00 10.00
PEPPER GREEN GR USA 1 14.00 14.00
PEPPER RED RED USA 1 27.00 27.00
YELLOW PEPPER YELL USA 1 15.00 15.00
CUCUMBER CUM MEX 2 20.00 40.00
SQUASH YELLOW YEL MEX 1 18.00 18.00
GINGER 10LB 10LB CHN 1 19.00 19.00
MUSHROOM WASH 10LB USA 2 17.00 34.00
MUSH SPECIAL 10SP USA 2 18.00 36.00 Total Boxes: 97.0
PORTABELLA MUS M PO2 USA 3 9.50 28.50] Delivery $ 126.10
POTATO IDAHO 90 USA 1 25.00 25.00
ONION SPANISH SPI USA 1 16.00 16.00| Shipment 1,905.60
ONION RED RD-J USA 1 12.00 12.00] ---------------------------~-----~----------_-
TOFU s USA 1 14.00 14.00
PINE GOLDEN GOL USA 2 24.00 48.00] Cash Receipt:
BANANA BNA ECU 2 17.00 34.00| ------------------+---~---~-------~~-~----------
PLANTAIN YELLOW c ECU 1 24.00 24.00
MESCLUN SALAD MESC USA 4 7.00 28.00] Signature
EGG EX/LOOSE EXLOO USA 4 34.50 138.00
Printed on Oct 12, 2020 ****e* Balance : 327,378.77

products derived from these commodities and any receivables or proceed

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural

commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other

from the sale of these commodities until full payment is recieved.
K&S Case 1:20-cv-08786-GHW Document 10-11 Piitad :19436/eQsRage 5 Of 27. 347)438-1053

 

 

 

 

 

 

 

 

INVOICE
ShipTo: # 9LES ESSEN 22 LLC Invoice No. 342084
699 GAve 22st
NY, NY 10010 Date 02/06/2020
Item Type Origin QTY Price Amount Item Type Origin QTY Price Amount
GRANNY SMITH 80 USA 1 31.00 31.00] ONION RED RD-J USA 1 12.00 12.00
STAR RUBY Les USA 2 27.00 54.00] SPROUT BEAN USA 1 8.00 8.00
WATERMELON SEED USA 1 38.00 38.00 | BANANA BNA ECU 2 17.00 34.00
CANTALOUP Cc USA 1 12.00 12.00 | MESCLUN SALAD MESC USA 12 7.00 84.00
HONEY DEW c USA 2 13.00 13.00 | EGG EX/LOOSE EXLOO USA 5 34.50 172.50
JUICE ORANGE 100 USA 2 20.00 40.00 | CHEESE FETTA CH/FE USA 1 49.00 49.00
STRAWBERRY CAL USA 5 18.00 90.00 | HERBS CHIVE CHIV USA 1 10.00 10.00
RASPBERRY A USA 3 23.00 69.00 | SCALLION KING USA 1 20.00 20.00
BLUEBERRY A USA 3 28.00 84.00
BLACKBERRY A USA 2 11.00 22.00
AVOCADO HASS Cc USA 1 38.00 38.00
AVOCADO HASS# RIPE MEX 3 41.00 123.00
PAPAYA BIG BOX RED MEX 1 34.00 34.00
MANGO MEXICAN Cc MEX 7 5.00 35.00
TOMATO #1 5X6 USA 1 19.00 19.00
TOMATO CHERRY Cc USA 0 0.00 0.00
TOMATO GRAPE R USA 2 11.00 22.00
ROMAINE CA-A USA 2 15.00 30.00
CAULIFLOWER G USA 2 21.00 42.00
FLOWER ORCHID 100 USA 1 25.00 25.00
FLOWER ORCHID RAIN RAIN USA 0 0.00 0.00
BROCCOLI CROWN CROW USA 3 12.00 36.00
RABE ANDY USA 1 40.00 40.00
ASPARAGUS LG USA 2 23.00 46.00
CELERY Cc USA 1 18.00 18.00
SPINACH BABY BA/SP USA 6 6.50 39.00
GREEN LEAF GR USA 1 16.00 16.00
GREEN KALE KALE USA 2 16.00 32.00
FRENCH BEAN FREN USA 1 14.00 14.00
ENDIVES A USA 1 19.00 19.00
ALFALFA CUP USA 1 12.00 12.00
BRUSSEL SP LOOSE USA 1 29.00 29.00
BABY ARRUGULA BA USA 6 12.00 72.00
BEETS 25LB LBAG CAN 1 10.00 10.00
PEPPER GREEN GR USA 1 14.00 14.00 Credit : 36.50
PEPPER RED RED USA 1 29.00 29.00
YELLOW PEPPER YELL USA 2 16.00 32.00
CUCUMBER CUM MEX 2 20.00 40.00 Total Boxes: £11..0
SQUASH GREEN GR USA 1 19.00 19.00 Delivery §$ : 144.30
SQUASH YELLOW YEL MEX 1 18.00 18.00
GARLIC JAR J/15L CHN 1 45.00 45.00 Shipment : 2,069.30
GINGER 10LB 10LB CHN 1 19.00 19.00 | -----------------------------------~~---~------
MUSHROOM WASH 10LB USA 2 17.00 34.00
MUSH SPECIAL 10SP USA 2 18.00 36.00 Cash Receipt:
PORTABELLA MUS M PO2 USA 2 9.50 19.00 | -------------------------------------~---------
POTATO IDAHO 90 USA 1 24.00 24.00
CARROT LOOSE LOOSE USA 1 23.00 23.00 Signature
ONION SPANISH SPI USA 1 16.00 16.00
Printed on Oct 12, 2020 *eeee* Balance : 327,554.77

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural

commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S Case 1:20-cv-08786-GHW Document 10-11 Fitad:10/ap@OsiBage 6 O27. 347)438-1053

 

 

 

 

 

 

 

 

| INVOICE
ShipTo: # 9LES ESSEN 22 LLC Invoice No. 342156
699 6Ave 22st
NY, NY 10010 Date 02/07/2020
Item Type Origin QTY Price Amount Item Type Origin QTY Price Amount
GRANNY SMITH 80 USA 1 31.00 31.00] ONION RED RD-J USA 1 12.00 12.00
MANDARINE LEAF USA 1 30.00 30.00 | PINE GOLDEN GOL USA 3 21.00 63.00
SEEDLESS GREEN GR USA 1 35.00 35.00] BANANA BNA ECU 2 17.00 34.00
SEEDLESS RED RED USA 1 35.00 35.00 | MESCLUN SALAD MESC USA 11 7.00 77.00
KIWI LOOSE LLOO USA 1 26.00 26.00] EGG EX/LOOSE EXLOO USA 4 34.50 138.00
WATERMELON SEED USA 1 38.00 38.00] ORDER PAPER OR/PE 0 0.00 0.00
CANTALOUP c USA 1 12.00 12.00 | SCALLION KING USA 1 22.00 22200
HONEY DEW Cc USA 1, 12.00 12.00] SQUASH BUTTERNUT BUIN USA 1 26.00 26.00
JUICE ORANGE 100 USA 2 20.00 40.00
SUNKIST ORANGE 56 USA tT 28.00 28.00
LEMON SK SK/L USA 1 30.00 30.00
STRAWBERRY CAL USA 5 21.00 105.00
RASPBERRY A USA 4 23.00 92.00
BLUEBERRY A USA 2 27.00 54.00
BLACKBERRY A USA 2 12.00 24.00
AVOCADO HASS# RIPE MEX 3 41.00 123.00
MANGO MEXICAN C MEX 8 4.50 36.00
TOMATO #1 5X6 USA 2 20.00 40.00
TOMATO PLUM c MEX 1 19.00 19.00
TOMATO CHERRY Cc USA 0 0.00 0.00
TOMATO GRAPE R USA 2 13.00 26.00
ROMAINE CA-A USA 1 17.00 17.00
CAULIFLOWER Cc USA 2 18.00 36.00
BROCCOLI CROWN CROW USA 3 11.00 33.00
ASPARAGUS LG USA 2 22.00 44.00
SPINACH BABY BA/SP USA 6 6.50 39.00
GREEN KALE KALE USA 1 16.00 16.00
BRUSSEL SP LOOSE USA 1 29.00 29.00
MINT A USA 2 15.00 15.00
BABY ARRUGULA BA USA 6 11.50 69.00
PEPPER GREEN GR USA i 15.00 15.00
PEPPER RED RED USA 1 32.00 32.00
YELLOW PEPPER YELL USA 1 15.00 15.00
JALAPINO JALPN HOL 1 17.00 17.00
CUCUMBER CUM MEX 2 22.00 44.00
SQUASH GREEN GR USA 1 19.00 19.00
SQUASH YELLOW YEL MEX 1 18.00 18.00
GARLIC JAR J5LB CHN 1 15.00 15.00 Total Boxes: 111.0
SHANGHAI BOKCHOY SH/BK USA 1 22.00 22.00 Delivery § : 144.30
GINGER 10LB 10LB CHN 1 19.00 19.00
MUSHROOM WASH 10LB USA 2 17.00 34.00 Shipment : 2,093.80
MUSH SPECIAL 10SP USA 2 18.00 36.00 | ---------~~~------------~-~~-~-------~---------
PORTABELLA MUS M P02 USA 3 9.50 28.50
EGGPLANT c USA i 25.00 15.00 Cash Receipt:
POTATO IDAHO 90 USA 1 24.00 24.00 | ~-----=-=-----~~-----~-------~-----~-------=-+-
POTATO RED A BOX BOX A USA 1 28.00 28.00
CARROT LOOSE LOOSE USA 2 23.00 46.00 Signature
ONION SPANISH SPI USA 1 16.00 16.00
Printed on Oct 12, 2020 x#ekeee Balance : 327,667.47

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
Case 1:20-cv-08786-GHW Document 10-11 Filed 10/26/20 Page 7 he.’ 02/14/2020
K&S

22-19 160 Street
Whitestone, NY 11357

 

Telephone: 718)767-2808 Fax: 347)438-1053
Ship To: #9LES ESSEN 22 LLC From: To:
699 6Ave 22st
NY, RY £O0KO 02/09/2020 02/14/2020

212) 633-0820

 

 

 

 

 

Shipped Amont Payment

02/09 Sunday 0.00 0.00
02/10 Monday 2078.20 2012.90
02/11 Tuesday 1992.20 2029.60
02/12 Wednesday 1755.70 1905.60
02/13 Thursday 1869.60 2069.30
02/14 Friday 1843.20 2092.60

Shipped Total 9538.90 Paid Total 10110.00

Delivery Charge 0.00 Credit Memo

Credit 0.00 ==
Wott st tt + Date +/- Oty Item rice Amount
Sub-Total (+) 9,538.90 een nnn nnn nnn no He ee ee
Prev.Balance(+) 327,926.27 No credit has been recorded
Payment 10,110.00

Current Balance 327,355.17

 

 

 

 

 

 

 

 

 

 

 

 

 

 

AR Aging Report Current Balance 327,355.17
Ist Week 9,538.90 Received Amount (- )
2nd Week 1.20 This Week Balance
Srd Week & Over 317,815.07 Received By
Paid By

 

 

 

 

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.

All interest, costs, attorney's fees due seller shall be considered sums owing in connection with this transaction uner the PACA trust.
K&S

Case 1:20-cv-08786-GHW Document 10-11 Hhilmel: 19/8 6629g0Rage 8 OFA? 347)438-1053

 

 

 

 

 

 

 

INVOICE
ShipTo: # 9LES ESSEN 22 LLC Invoice No. 342242
699 G6Ave 22st
NY, NY 10010 Date 02/10/2020
Item Type Origin QTY Price Amount | Item Type Origin QTY Price _ Amount
GRANNY SMITH 80 USA Li 30.00 30.00] ONION SPANISH SPI USA 1: -16,.00 16.00
HONEY TANGERINE 100 USA 1 44.00 44.00 | ONION RED RD-J USA 1. 22,00 12... 00
NECTARINE CALI Cc USA 1 26.00 26.00] SPROUT BEAN USA 2 8.00 16.00
WATERMELON SEED USA 1 40.00 40.00 | PINE GOLDEN GOL USA 2 20.00 40.00
HONEY DEW Cc USA 4 1.1...06 11.00 |) BANANA BNA ECU 2 17.00 34.00
JUICE ORANGE 100 USA 2 20.00 40.00 | MESCLUN SALAD MESC USA 11 7.00 77.00
STRAWBERRY CAL USA 4 23.00 92.00 | EGG EX/LOOSE EXLOO USA 4 35.00 140.00
RASPBERRY A USA 3 23.00 69.00 | CHEESE FETTA CH/FE USA 1 49.00 49.00
BLUEBERRY A USA 3 29.00 87.00) HERBS CHIVE CHIV USA 1. 20206 10.00
BLACKBERRY A USA 2 15.00 30.00} SQUASH BUTTERNUT BUIN USA 1 26.00 26.00
AVOCADO HASS Cc USA 1 41.00 41.00
AVOCADO HASS# RIPE MEX 2 43.00 86.00
MANGO MEXICAN G MEX 7 4.50 31.50
LIME 48 MEX i 8.00 8.00
TOMATO #1 5X6 USA I 23.00 23.00
TOMATO PLUM Cc MEX 1 25.00 25.00
TOMATO CHERRY Cc USA 1 30.00 30.00
TOMATO GRAPE R USA 2 16.00 32.00
TOMATO GRAPE YE USA 1. 22-00 22.00
LETTUCE . ICEBERG A USA 1 16.00 16.00
ROMAINE CA-A USA 2 15.00 30.00
CAULIFLOWER c USA 2 21.00 42.00
BROCCOLI CROWN CROW USA 3 13.00 39.00
CELERY Cc USA 1 18.00 18.00
SPINACH BABY BA/SP USA 6 6.50 39.00
GREEN KALE KALE USA 1 16.00 16.00
ALFALFA CUP USA 1 12.00 12.00
SHALLOT JAR/5LB SJ#5 USA Ei. 21,00 11.00
BASIL ISRAEL Is ISR 1 13.00 13.00
BABY ARRUGULA BA USA a 6174...00 33.00
CILANTRO Cc USA 1 17.00 17.00
PEPPER GREEN GR USA 1 19.00 19.00
PEPPER RED RED USA 1 28.00 28.00
YELLOW PEPPER YELL USA 2 16.00 32.00
JALAPINO JALPN HOL tL 17.00 17.00
CUCUMBER CUM MEX 2 28.00 56.00
SQUASH YELLOW YEL MEX 1 26.00 26.00
GARLIC JAR J5LB CHN I 25:50 15.50 Total Boxes: 109.0
Moo Cc USA 1 18.00 18.00 Delivery $ 141.70
GINGER 10LB 10LB CHN 1 18.00 18.00
MUSHROOM WASH 10LB USA 2 17.00 34.00 Shipment 2,078.20
MUSH SPECIAL 10SP USA 2 18.00 36.00 | -----------------------=----------------------
PORTABELLA MUS M PO2 USA 3 9.50 28.50
YAM #1 YAM USA 1 18.00 18.00 Cash Receipt:
EGGPLANT c USA 1 16.00 16.00 | --- mn n nnn -------- ~~ = = = == ===
POTATO IDAHO 90 USA 2 25.00 50.00
POTATO RED A BOX BOX A USA 1 28.00 28.00 Signature
CARROT LOOSE LOOSE USA 1 23.00 23.00
Printed on Oct 12, 2020 *k#ekkke Balance : 327,926.27

The perishable agricultural commodities listed on this invoice are sold subj

ect to the statutory trust authorized by section 5(c) of the perishable agricultural

commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S

Case 1:20-cv-08786-GHW Document 10-11 Hhdmc 19/8662Gg0Page 9 Of 27 347)438-1053

 

 

 

 

 

 

 

INVOICE
ShipTo: # 9LES ESSEN 22 LLC Invoice No. 342276
699 GAve 22st
NY, NY 10010 Date 02/11/2020
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
GRANNY SMITH 80 USA 1 31.00 31.00 | EGG EX/LOOSE EXLOO USA 4 35.00 140.00
STAR RUBY c USA 2 28.00 56.00 | HERBS ROSEMARY ROSE CHL 1 7.50 7.50
WATERMELON SEED USA 1 40.00 40.00 | SCALLION KING USA 1: 29:06 19.00
CANTALOUP Cc USA 1 10.00 10.00
HONEY DEW G USA 1 11.00 11.00
JUICE ORANGE 100 USA 2 20.00 40.00
STRAWBERRY CAL USA 4 21.00 84.00
RASPBERRY A USA 3 27.00 81.00
BLUEBERRY A USA 2 27.00 54.00
BLACKBERRY A USA 2 14.00 28.00
AVOCADO HASS# RIPE MEX 3 43.00 129.00
MANGO MEXICAN c MEX 6 4.50 27.00
LIME 48 MEX 1 8.00 8.00
TOMATO #1 5X6 USA 2 24.00 48.00
TOMATO PLUM Cc MEX 1 26.00 26.00
TOMATO GRAPE R USA 2 16.00 32.00
ROMAINE CA-A USA 2 15.00 30.00
CABBAGE GR GR USA 1. 13.00 13.00
CAULIFLOWER Cc USA 3 21:00 63.00
BROCCOLI CROWN CROW USA 3 13.00 39.00
ASPARAGUS LG USA 2. 23.00 46.00
CELERY Cc USA 1 18.00 18.00
SPINACH BUSH USA 1 26.00 26.00
SPINACH BABY BA/SP USA 5 6.50 32.50
GREEN LEAF GR USA 1. 15.00 15.00
GREEN KALE KALE USA 1 16.00 16.00
ALFALFA CUP USA 1 12.00 12.00
BRUSSEL SP LOOSE USA 2 22.00 44.00
BABY ARRUGULA BA USA 6 11.00 66.00
PEPPER GREEN GR USA 1 20.00 20.00
PEPPER RED RED USA 1 30.00 30.00
YELLOW PEPPER YELL USA 2 20.00 40.00
JALAPINO JALPN HOL 1 17.00 17.00
CUCUMBER CUM MEX 2 29.00 58.00
SQUASH GREEN GR USA 1 27.00 27.00
SQUASH YELLOW YEL MEX 1 27.00 27.00
GINGER 10LB 10LB CHN 1 18.00 18.00
MUSHROOM WASH 10LB USA 2 17206 34.00 Total Boxes: 104.0
MUSH SPECIAL 10SP USA 2 18.00 36.00 Delivery § 135,20
PORTABELLA MUS M PO2 USA 2 9.50 19.00
POTATO IDAHO 90 USA 1 24.00 24.00 Shipment 1,992.20
CARROT LOOSE LOOSE USA 1 23.00 23.00 | ----------------------------------------------
ONION SPANISH SPI USA 1 16.00 16.00
SPROUT BEAN USA 1 8.00 8.00 Cash Receipt:
PINE GOLDEN GOL USA 2 20.00 40.00 | ------nn-------- =n nnn n ~~ - === -------------
BANANA BNA ECU 2 17.00 34.00
PLANTAIN YELLOW c ECU 1 24.00 24.00 Signature
MESCLUN SALAD MESC USA 10 7.00 70.00
Printed on Oct 12, 2020 *¥ekeee Balance : 327,991.57

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S Case 1:20-cv-08786-GHW Document 10-11 Pied -10/26/@028bage 10 G27 347)438-1053

 

 

 

 

 

 

 

INVOICE
ShipTo: # 9LES ESSEN 22 LLC Invoice No. 342351
699 6Ave 22st
NY, NY 10010 Date 02/12/2020
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
RED EX FANCY 80 USA 1 32.00 32.00
GRANNY SMITH 80 USA 1 31.00 31,.'00
SEEDLESS GREEN GR USA 1 35.00 35.00
KIWI LOOSE LLOO USA 1 26.00 26.00
WATERMELON SEED USA 1 40.00 40.00
JUICE ORANGE 100 USA 2 20.00 40.00
SUNKIST ORANGE 56 USA 1 28.00 28.00
STRAWBERRY XF USA 4 18.00 72.00
RASPBERRY A USA a $1..00 93.00
BLUEBERRY A USA 2 26.00 52.00
BLACKBERRY A USA 2 15.00 30.00
PAPAYA BIG BOX RED MEX 1 34.00 34.00
MANGO MEXICAN c MEX 7 4.50 31.50
TOMATO #1 5X6 USA 1 26.00 26.00
TOMATO GRAPE R USA 2 17.00 34.00
TOMATO GRAPE YE USA 1 22000 22.00
LETTUCE . ICEBERG A USA 1 16.00 16.00
ROMAINE CA-A USA 3 15.00 45.00
CABBAGE RED RED USA 1 19.00 19.00
CAULIFLOWER c USA 3 21.00 63.00
BROCCOLI CROWN CROW USA 3 13.00 39.00
ASPARAGUS LG USA 1 23.00 23.00
SPINACH BABY BA/SP USA 5 6.50 32.50
GREEN COLLARD COALD USA 1 15.00 15.00
GREEN KALE KALE USA 2 16.00 32.00
SNOWPEA A USA 1 16.00 16.00
BRUSSEL SP LOOSE USA 1 22.00 22.00
BABY ARRUGULA BA USA 6 11.00 66.00
BEETS 25LB LBAG CAN 1 10.00 10.00
PEPPER GREEN GR USA 1 21.00 21.00
PEPPER RED RED USA 2 20.00 40.00
YELLOW PEPPER YELL USA 1 21.00 21.00
CUCUMBER CUM MEX 1 29.00 29.00
SQUASH GREEN GR USA 1 27.00 27.00
SQUASH YELLOW YEL MEX 1 23.00 23.00
GINGER 10LB 10LB CHN 1 18.00 18.00
MUSHROOM WASH 10LB USA 2 17.00 34.00
MUSH SPECIAL 10SP USA 2 18.00 36.00 Total Boxes: 94.0
PORTABELLA MUS M PO2 USA 1 9.50 9.50 Delivery $ : 122.20
POTATO IDAHO 90 USA 1 24.00 24.00
CARROT LOOSE LOOSE USA 1 23.00 23.00 Shipment S Lp tS5676
ONION SPANISH SPI USA 1 16.00 16.00| ----------------~-----------------------------
ONION RED RD-J USA 1 11.00 11.00
PINE GOLDEN GOL USA 1 20.00 20.00 Cash Receipt:
BANANA BNA ECU 2 17.00 34.00 | qn nn nnn nnn nnn nn nnn nnn = - = === ---
MESCLUN SALAD MESC USA 9 7.00 63.00
EGG EX/LOOSE EXLOO USA 4 35.00 140.00 Signature
SCALLION KING USA 1 19.00 19.00
Printed on Oct 12, 2020 *¥***** Balance : 327,954.17

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S Case 1:20-cv-08786-GHW Document 10-11 Pied 1G/@G/eDosRage 11 Gf27 347)438-1053

 

 

 

 

INVOICE
ShipTo: # 9LES ESSEN 22 LLC Invoice No. 342409
699 6Ave 22st
NY, NY 10010 Date 02/13/2020
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
GRANNY SMITH 80 USA 1 31.00 31.00 | EGG EX/LOOSE EXLOO USA 4 35.00 140.00
STAR RUBY c USA 1 28.00 28.00] CHEESE FETTA CH/FE USA 1 49.00 49.00
SEEDLESS RED RED USA i. 35,00 35.00
CANTALOUP Cc USA 1 10.00 10.00
HONEY DEW c USA 1 11.00 11.00
JUICE ORANGE 100 USA 2 20.00 40.00
LEMON SK SK/L USA 1 29.00 29.00
STRAWBERRY XF USA 5 18.00 90.00
RASPBERRY A USA 2 33.00 66.00
BLUEBERRY A USA 2 26.00 52.00
BLACKBERRY A USA 2 12.00 24.00
AVOCADO HASS c USA 1 41.00 41.00
AVOCADO HASS# RIPE MEX 3 43.00 129.00
MANGO MEXICAN Cc MEX 6 4.50 27.00
TOMATO #1 5X6 USA 2 27.00 54.00
TOMATO GRAPE R USA 2 17.00 34.00
ROMAINE CA-A USA 2 15.00 30.00
CAULIFLOWER Cc USA >» i39..00 57.00
BROCCOLI CROWN CROW USA 3 13.00 39.00
RABE ANDY USA 1 40.00 40.00
ASPARAGUS LG USA 1 20.00 20.00
CELERY Cc USA 1 17.00 L700
SPINACH BUSH USA 1 21.00 21.00
SPINACH BABY BA/SP USA 5 6.50 32.50
GREEN KALE KALE USA 2 16.00 32.00
ALFALFA CUP USA 1 12.00 12.00
BRUSSEL SP LOOSE USA 1 19.00 19.00
BABY ARRUGULA BA USA 2: 10.50 21.00
CILANTRO Cc USA 1 17.00 17.00
PEPPER GREEN GR USA 1 20.00 20.00
PEPPER RED RED USA 1 29.00 29.00
YELLOW PEPPER YELL USA 2 21.00 42.00
CUCUMBER CUM MEX 1 27.00 27.00
SQUASH GREEN GR USA 1 26.00 26.00
GARLIC JAR J/15L CHN 1 42.00 42.00
GINGER 10LB 10LB CHN 1 16.00 16.00
MUSHROOM WASH 10LB USA 2 17.00 34.00
MUSH SPECIAL 10SP USA 2 18.00 36.00 Total Boxes: 92.0
PORTABELLA MUS M PO2 USA 3 9.50 28.50 Delivery § : 119.60
EGGPLANT Cc USA 1 20.00 20.00
POTATO RED A BOX BOX A USA 1 28.00 28.00] Shipment : 1,869.60
CARROT LOOSE LOOSE USA 1 23.00 23.00 | ----------------------------------------------
ONION SPANISH SPI USA 1 16.00 16.00
ONION RED RD-J USA 1 11.00 11.00 Cash Receipt:
SPROUT BEAN USA 1 8.00 82.000) cee rr Tie a
PINE GOLDEN GOL USA 1 20.00 20.00
BANANA BNA ECU 2 17.00 34.00 Signature
MESCLUN SALAD MESC USA 6 7.00 42.00

 

 

 

Printed on Oct 12, 2020

¥eeeee Balance : 327,804.27

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&§& Case 1:20-cv-08786-GHW Document 10-11 Pied 1G/aG/@NoshAgE 12 Ob:27 347)438-1053

 

 

 

 

INVOICE
ShipTo: # 9LES ESSEN 22 LLC Invoice No. 342465
699 6GAve 22st
NY, NY 10010 Date 02/14/2020
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
GRANNY SMITH 80 USA 1 31.00 31.00
STAR RUBY c USA 1 28.00 28.00
WATERMELON SEED USA 1 40.00 40.00
HONEY DEW Cc USA 1 11.00 11.00
JUICE ORANGE 100 USA 1 20.00 20.00
SUNKIST ORANGE 56 USA 1 27.00 27.00
STRAWBERRY CAL USA 4 14.00 56.00
RASPBERRY A USA 4 34.00 136.00
BLUEBERRY A USA 3 26.00 78.00
BLACKBERRY A USA 3 12.00 36.00
AVOCADO HASS GC USA 1 43.00 43.00
AVOCADO HASS# RIPE MEX 3 43.00 129.00
MANGO MEXICAN Cc MEX 7 4.50 31.50
TOMATO #1 5X6 USA 2 28.00 56.00
TOMATO GRAPE R USA 2 27.00 34.00
ROMAINE CA-A USA 2 16.00 32.00
CABBAGE GR GR USA 1 13.00 13.00
CAULIFLOWER C USA 2 22.00 44.00
BROCCOLI CROWN CROW USA 3 12.00 36.00
ASPARAGUS LG USA 1 23.00 23.00
CELERY c USA 1 17.00 17.00
SPINACH BABY BA/SP USA 6 6.50 39.00
GREEN KALE KALE USA 1 15.00 15.00
BRUSSEL SP LOOSE USA 1 20.00 20.00
BASIL ISRAEL Is ISR 1 13.00 13.00
BABY ARRUGULA BA USA 5 10.50 52.50
PEPPER RED RED USA 1 30.00 30.00
YELLOW PEPPER YELL USA 1 19.00 19.00
CUCUMBER CUM MEX Ll 28.00 28.00
SQUASH YELLOW YEL MEX 1 19.00 19.00
GARLIC JAR J5LB CHN 1 14.00 14.00
GINGER 10LB 10LB CHN 1 16.00 16.00
MUSHROOM WASH 1OLB USA 2 17.00 34.00
MUSH SPECIAL 10SP USA 2 18.00 36.00
PORTABELLA MUS M P02 USA 2 9.50 19.00
POTATO IDAHO 90 USA 2 24.00 48.00
CARROT LOOSE LOOSE USA 2 22).00 46.00
ONION SPANISH SPI USA 2 16.00 32.00 Total Boxes: 94.0
ONION RED RD-J USA 1 11.00 11.00 Delivery $ : 122.20
PINE GOLDEN coL USA 2 19.00 38.00
BANANA BNA ECU 2 17.00 34.00 Shipment : 1,843.20
MESCLUN SALAD MESC USA 6 7.00 42.00 | ------- == -------- ~~~ --- = = == ----- -- === -
EGG EX/LOOSE EXLOO USA 5 35.00 2175.00
SCALLION KING USA 1 19.00 19.00 Cash Receipt:
Signature

 

 

 

Printed on Oct 12, 2020

tekkkk Balance : 327,604.57

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
Case 1:20-cv-08786-GHW Document 10-11 Filed 10/26/20 Page 1Ba€é 27 02/21/2020
K&S

22-19 160 Street
Whitestone, NY 11357

Telephone : 718)767-2808 Fax: 347)438-1053

Ship To: #9LES ESSEN 22 LLC From: To:
699 GAve 22st

NY, NY 10010
212) 633-0820

 

02/16/2020 02/21/2020

 

 

 

 

 

Shipped Amont Payment

02/16 Sunday 0.00 0.00
02/17 Monday 0.00 0.00
02/18 Tuesday 2065.80 2078.20
02/19 Wednesday 1906.00 1992.20
02/20 Thursday 1828.10 1755.70
02/21 Friday 1556.60 1869.60

Shipped Total 7356.50 Paid Total 7695.70

Delivery Charge 0.00 Credit Memo

Credit 0.00
-o---- 3 -- Date +/- Oty Item Price Amount
Sub-Total (+) TpSOGeOe  —-- SL Sie Sai eee
Prev.Balance(+) 327,355.17 No credit has been recorded
Payment 7,695.70

Current Balance 327,015.97

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

AR Aging Report Current Balance 327,015.97
Ist Week 7,356.50 Received Amount (- )
2nd Week 1,843.20 This Week Balance
3rd Week & Over 317,816.27 Received By
Paid By

 

 

 

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.

All interest, costs, attorney's fees due seller shall be considered sums owing in connection with this transaction uner the PACA trust.
K&S

Case 1:20-cv-08786-GHW Document 10-11 Biled 10/@G/@Dosbage 14 Gh:27 347)438-1053

 

 

 

 

 

 

 

INVOICE
ShipTo: # 9LES ESSEN 22 LLC Invoice No. 342547
699 GAve 22st
NY, NY 10010 Date 02/18/2020
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
GRANNY SMITH 80 USA 1 30.00 30.00] ONION SPANISH SPI USA 1 15.00 15.00
STAR RUBY Cc USA 1 28.00 28.00 | TOFU Ss USA 1 14.00 14.00
HONEY TANGERINE 100 USA 1 42.00 42.00 | SPROUT BEAN USA I: 8.00 8.00
SEEDLESS GREEN GR USA I: 35,006 35.00] PINE GOLDEN GOL USA 2 19.00 38.00
NECTARINE CALI Cc USA 1 29.00 29.00 | BANANA BNA ECU 2 18.50 AT .00
WATERMELON SEED USA 1 40.00 40.00] PLANTAIN YELLOW Cc ECU 1 24.00 24.00
CANTALOUP Cc USA 1 10.00 10.00 | MESCLUN SALAD MESC USA 3 7.00 21.00
JUICE ORANGE 100 USA 4 20.00 80.00] EGG EX/LOOSE EXLOO USA 4 30.00 120.00
LEMON SK SK/L USA 1 30.00 30.00 | CHEESE FETTA CH/FE USA 1 49.00 49.00
STRAWBERRY CAL USA 5 12.00 60.00 | HERBS CHIVE CHIV USA 1 10.00 10.00
RASPBERRY A USA 1 45.00 45.00
BLUEBERRY A USA 2 30.00 60.00
BLACKBERRY A USA 2 16.00 32.00
AVOCADO HASS c USA 1 49.00 49.00
AVOCADO HASS# RIPE MEX 3 48.00 144.00
MANGO MEXICAN c MEX 6 5.00 30.00
LIME 48 MEX 1 7.00 7.00
TOMATO #1 5X6 USA 1 28.00 28.00
TOMATO PLUM Cc MEX 1 32.00 32.00
TOMATO GRAPE R USA 2 17.00 34.00
ROMAINE CA-A USA 2 16.00 32.00
CAULIFLOWER c USA 3 21.00 63.00
BROCCOLI CROWN CROW USA 2 13.00 26.00
ASPARAGUS LG USA 1 25.00 25.00
SPINACH BUSH USA 1 24.00 24.00
SPINACH BABY BA/SP USA 5 6.50 32.50
GREEN LEAF GR USA L, 45.00 15.00
GREEN COLLARD COALD USA 1 15.00 15.00
GREEN KALE KALE USA 2 16.00 32.00
STRINGBEAN BEAN USA 1 22.00 22.00
ALFALFA CUP USA 1 12.00 12.00
BRUSSEL SP LOOSE USA 1 19.00 19.00
BABY ARRUGULA BA USA 6 10.50 63.00
CILANTRO Cc USA 1. 37.00 17.00
BEETS 25LB LBAG CAN 1 10.00 10.00
PEPPER GREEN GR USA 1 15.00 15.00
PEPPER RED RED USA 1 28.00 28.00
YELLOW PEPPER YELL USA i: P00 18.00 Total Boxes: 101..0
CUCUMBER CUM MEX 1 27,00 27.00 Delivery $ 131.30
SQUASH GREEN GR USA 1 18.00 18.00
GINGER 10LB 10LB CHN 1 16.00 16.00 Shipment 2,065.80
MUSHROOM WASH 10LB USA 2 22200 34,00 | ----------------------------------------------
MUSH SPECIAL 10SP USA 3 18.00 54.00
PORTABELLA MUS M PO2 USA 2 9.50 19.00 Cash Receipt:
YAM #1 YAM USA 1 18.00 18.00 | ----------------------------------------------
POTATO IDAHO 90 USA 2 24.00 48.00
POTATO RED A BOX BOX A USA 1 28.00 28.00 Signature
CARROT LOOSE LOOSE USA 1 23.00 23.00
Printed on Oct 12, 2020 ekkkke Balance : 327,355.17

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural

commodities act, 1930(7 U.S.C. 499(E)\(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S Case 1:20-cv-08786-GHW_ Document 10-11 Biles 1/ASHEPrshAUE 15 O27 s4n458 1053

 

 

 

 

 

 

 

INVOICE
ShipTo: # 9LES ESSEN 22 LLC Invoice No. 342607
699 6Ave 22st
NY, NY 10010 Date 02/19/2020
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
RED EX FANCY 80 USA 1 30.00 30.00
GRANNY SMITH 80 USA 1 30.00 30.00
SEEDLESS RED RED USA 1 33.00 33.00
KIWI LOOSE LLOO USA 1 26.00 26.00
JUICE ORANGE 100 USA 2 19.00 38.00
SUNKIST ORANGE 56 USA i 27.00 27.00
STRAWBERRY CAL USA 5 10.00 50.00
RASPBERRY A USA 4 27.00 108.00
BLACKBERRY A USA 2 15.00 30.00
AVOCADO HASS Cc USA 1 51.00 51.00
AVOCADO HASS# RIPE MEX 3 49.00 147.00
MANGO MEXICAN Cc MEX 6 5.00 30.00
LIME 48 MEX 1 7.00 7.00
TOMATO #1 5X6 USA 2 28.00 56.00
TOMATO PLUM c MEX 1 35.00 35.00
TOMATO GRAPE R USA 2 17.00 34.00
TOMATO GRAPE YE USA 1 20.00 20.00
ROMAINE CA-A USA 3 16.00 48.00
CAULIFLOWER c USA 2 19.00 38.00
BROCCOLI CROWN CROW USA 3 13.00 39.00
ASPARAGUS LG USA 2 23.00 46.00
CELERY Cc USA 1 18.00 18.00
SPINACH BABY BA/SP USA 6 6.50 39.00
GREEN KALE KALE USA 2 15.00 30.00
BRUSSEL SP LOOSE USA 1 19.00 19.00
BABY ARRUGULA BA USA 6 10.50 63.00
PEPPER GREEN GR USA 2 15.00 30.00
PEPPER RED RED USA 1 26.00 26.00
YELLOW PEPPER YELL USA 2 18.00 36.00
JALAPINO JALPN HOL 1 17.00 17.00
CUCUMBER CUM MEX 2 29.00 58.00
SQUASH GREEN GR USA 1 18.00 18.00
SHANGHAI BOKCHOY SH/BK USA 1 22.00 22.00
GINGER 10LB 10LB CHN 1 16.00 16.00
MUSHROOM WASH 10LB USA 1 17.00 17.00
MUSH SPECIAL 10SP USA 2 18.00 36.00
PORTABELLA MUS M PO2 USA 2 9.50 19.00
POTATO IDAHO 90 USA 2 24.00 48.00 Total Boxes: 100.0
CARROT LOOSE LOOSE USA 1 23.00 23.00 Delivery $ : 130.00
ONION SPANISH SPI USA 1 15.00 15.00
ONION RED RD-J USA 1 11.00 11.00 Shipment : 1,906.00
PINE GOLDEN GOL USA 2 18.00 36.00 | ----------------------------------+~--+ ++ ~~ ---
BANANA BNA ECU 2 18.50 37.00
MESCLUN SALAD MESC USA 8 7.00 56.00 Cash Receipt:
EGG EX/LOOSE EXLOO USA 5 29.00 145.00 | ---------—-~------~--~--------------------------
SCALLION KING USA 1 18.00 18.00
Signature
Printed on Oct 12, 2020 *eeekee Balance : 327,342.77

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities. all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
 

 

 

 

 

 

 

K&S Case 1:20-cv-08786-GHW Document 10-11 Filad -1948G/e Osage 16 ef,27 347y438-1053
INVOICE
ShipTo: # 9LES ESSEN 22 LLC Invoice No. 342682
699 GAve 22st
NY, NY 10010 Date 02/20/2020
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
GRANNY SMITH 80 USA 1 30.00 30.00} EGG BROWN/cT BR/CT USA 1 36.00 36.00
STAR RUBY c USA 1 28.00 28.00 | SCALLION KING USA 1 17.00 17.00
WATERMELON SEED USA 1 40.00 40.00
HONEY DEW Cc USA 1 10.00 10.00
JUICE ORANGE 100 USA 3 19.00 57.00
STRAWBERRY XF USA 5 15.00 75.00
RASPBERRY A USA 1 40.00 40.00
BLUEBERRY A USA 2 34.00 68.00
BLACKBERRY A USA 2 13.00 26.00
AVOCADO HASS# RIPE MEX 3 50.00 150.00
PAPAYA BIG BOX RED MEX 1 33.00 33.00
MANGO MEXICAN Cc MEX 6 5.00 30.00
TOMATO #1 5X6 USA 1 28.00 28.00
TOMATO PLUM Cc MEX 1 36.00 36.00
TOMATO GRAPE R USA 2 17.00 34.00
TOMATILLO ORG MEX 1 15.00 15.00
ROMAINE CA-A USA 2 16.00 32.00
CABBAGE GR GR USA 1 13.00 13.00
CAULIFLOWER Cc USA 3 19.00 57.00
BROCCOLI CROWN CROW USA 2 13.00 26.00
ASPARAGUS LG USA 1 22.00 22.00
CELERY Cc USA 1 18.00 18.00
SPINACH BABY BA/SP USA 5 6.50 32.50
GREEN KALE KALE USA 1 16.00 16.00
ENDIVES A USA 1 19.00 19.00
BRUSSEL SP LOOSE USA 1 18.00 18.00
BABY ARRUGULA BA USA 2 10.50 21.00
PARSLEY PLAIN FULL USA 1 25.00 25.00
CILANTRO Eg USA 1 17..00 17.00
PEPPER RED RED USA 1 26.00 26.00
YELLOW PEPPER YELL USA 1 18.00 18.00
CUCUMBER CUM MEX 2 28.00 56.00
SQUASH YELLOW YEL MEX 1 22.00 22.00
GINGER 10LB 10LB CHN 1 16.00 16.00
MUSHROOM WASH 10LB USA 2 17.00 34.00
MUSH SPECIAL 10SP USA 2 18.00 36.00
PORTABELLA MUS M PO2 USA 1 9.50 9.50
YAM #1 YAM USA 1 18.00 18.00 Total Boxes: 97.0
EGGPLANT Cc USA 1 17.00 17.00 Delivery $ 126.10
POTATO RED A BOX BOX A USA 1 29.00 29.00
CARROT LOOSE LOOSE USA 1 23.00 23.00 Shipment 1,828.10
ONION SPANISH SPI USA 1 15.00 15.00 | -----~---------- === == ----- === = -----------
ONION RED RD-J USA 1 11.00 11.00
SPROUT BEAN USA 1 8.00 8.00 Cash Receipt:
PINE GOLDEN GOL USA 2 18.00 36,00 | ----------------------------------------------
BANANA BNA ECU 2 18.50 37.00
MESCLUN SALAD MESC USA 15 7.00 105.00 Signature
EGG EX/LOOSE EXLOO USA 4 29.00 116.00
Printed on Oct 12, 2020 *#ee%**e% Balance : 327,256.57

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other

products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S§ Case 1:20-cv-08786-GHW Document 10-11 Piilad:10/8G@OsRage 17 PL27 347)438-1053

 

 

 

 

INVOICE
Ship To: # 9LES ESSEN 22 LLC Invoice No. 342744
699 6GAve 22st
NY, NY 10010 Date 02/21/2020
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
RED EX FANCY 80 USA 1 31.00 31.00
GRANNY SMITH 80 USA 1 30.00 30.00
STAR RUBY Cc USA 1 28.00 28.00
WATERMELON SEED USA 1 42.00 42.00
CANTALOUP Cc USA 1 9.00 9.00
JUICE ORANGE 100 USA 2 19.00 38.00
SUNKIST ORANGE 56 USA 1 26.00 26.00
STRAWBERRY CAL USA 5 9.00 45.00
RASPBERRY A USA 1 40.00 40.00
BLUEBERRY A USA 3 35.00 105.00
BLACKBERRY A USA 2 15.00 30.00
AVOCADO HASS# RIPE MEX 2 53.00 106.00
MANGO MEXICAN c MEX 4 5.00 20.00
TOMATO #1 5X6 USA 2 28.00 56.00
TOMATO GRAPE R USA 2 17.00 34.00
ROMAINE CA-A USA 2 15.00 30.00
CAULIFLOWER ce USA 2 19.00 38.00
BROCCOLI CROWN CROW USA 2 12.6060 24.00
RABE ANDY USA 1 40.00 40.00
SPINACH BUSH USA 1 22.00 22.00
SPINACH BARY BA/SP USA 6 6.50 39.00
GREEN KALE KALE USA 2 16.00 32.00
SNOWPEA A USA 1 13.00 13.00
BRUSSEL SP LOOSE USA 1. ‘L700 17.00
BABY ARRUGULA BA USA 2 10.50 21.00
DILL 3PCS USA 1 2.50 2.50
BEETS 25LB LBAG CAN 1 10.00 10.00
PEPPER GREEN GR USA i 13:00 13.00
PEPPER RED RED USA 1 21.00 21.00
YELLOW PEPPER YELL USA 1. 17.00 17.00
CUCUMBER CUM MEX 2 28.00 56.00
SQUASH GREEN GR USA 1 16.00 16.00
GARLIC JAR J5LB CHN 1 14.00 14.00
GINGER 10LB 10LB CHN 1 18.00 18.00
MUSHROOM WASH 10LB USA 1 17.00 17.00
MUSH SPECIAL 10SP USA 2 18.00 36.00
PORTABELLA MUS M PO2 USA 3 9.50 28.50
POTATO IDAHO 90 USA 1 24.00 24.00 Total Boxes: 82.0
CARROT LOOSE LOOSE USA 1 23.00 23.00 Delivery §$ : 106.60
ONION SPANISH SPI USA 1 15.00 15.00
PINE GOLDEN GoL USA 1 18.00 18.00 Shipment : 1,556.60
BANANA BNA ECU 2 Tess0 37.00 | ------------- nee - =
MESCLUN SALAD MESC USA 6 7.00 42.00
EGG EX/LOOSE EXLOO USA 4 29.00 116.00 Cash Receipt:
HERBS CHIVE CHIV USA 1 10.00 £0.00) | Seen ae ee Oe ae eS
Signature

 

 

 

Printed on Oct 12, 2020

ekkke* Balance : 327,328.97

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
Case 1:20-cv-08786-GHW Document 10-11 Filed 10/26/20 Page 1Bat#:27 02/28/2020
K&S

22-19 160 Street
Whitestone, NY 11357

Telephone: 718)767-2808 Fax: 347)438-1053

Ship To: #9LES ESSEN 22 LLC From: To:
699 6Ave 22st

NY, NY 10010
212) 633-0820

 

02/23/2020 02/28/2020

 

 

 

 

 

Shipped Amont Payment

02/23 Sunday 0.00 0.00
02/24 Monday 2015.30 1556.60
02/25 Tuesday 1953.40 1843.20
02/26 Wednesday 1972.10 2065.80
02/27 Thursday 1827-70 1906.00
02/28 Friday 1851.90 1828.10

Shipped Total 9620.40 Paid Total 9199.70

Delivery Charge 0.00 Credit Memo

Credit 0.00 sm
wee Date +/- Oty Item Price Amount
Sub-Total {+) 9,620 80 eee eee eee See eee
Prev.Balance(+) 327,015.97 No credit has been recorded
Payment 9,199.70

Current Balance 327,436.67

 

 

 

 

 

 

 

 

 

 

 

 

 

AR Aging Report Current Balance 327,436.67
Ist Week 9,620.40 Received Amount (- )
2nd Week 0.00 This Week Balance
3rd Week & Over 317,816.27 Received By
Paid By

 

 

 

 

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.

All interest, costs, attorney's fees due seller shall be considered sums owing in connection with this transaction uner the PACA trust.
K&S

Case 1:20-cv-08786-GHW Document 10-11 Fibad:10/2G67@80Rage 19 Pix27 347)438-1053

 

 

 

 

 

 

 

INVOICE
ShipTo: # 9LES ESSEN 22 LLC Invoice No. 342843
699 6GAvVe 22st
NY, NY 10010 Date 02/24/2020
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
GRANNY SMITH 80 USA 1 29.00 29.00] ONION RED RD-J USA 1 11.00 11.00
STAR RUBY Cc USA 1 28.00 28.00 | TOFU s USA 1 14.00 14.00
SEEDLESS GREEN GR USA 1 32.00 32.00] PINE GOLDEN GOL USA 2. L600 34.00
SEEDLESS RED RED USA 1 33200 33.00} BANANA BNA ECU 2 18.50 37.00
NECTARINE CALI c USA 1 25.00 25.00 | MESCLUN SALAD MESC USA 8 7.00 56.00
KIWI LOOSE LLOO USA 1 26.00 26.00 | EGG EX/LOOSE EXLOO USA 5 29.00 145.00
WATERMELON SEED USA 1 42.00 42.00 | CHEESE FETTA CH/FE USA 1 49.00 49.00
HONEY DEW c USA 1 10.00 10.00 POTATO MARBLE MIX USA 1 23.00 23.00
JUICE ORANGE 100 USA 4 19.00 76.00 | SCALLION KING USA 1 16.00 16.00
SUNKIST ORANGE 56 USA 1 26.00 26.00
LEMON SK SK/L USA 1 28.00 28.00
STRAWBERRY XF USA 5 11.00 55.00
RASPBERRY A USA 2 34.00 68.00
BLUEBERRY A USA 3 32.00 96.00
BLACKBERRY A USA 2 12.00 24.00
AVOCADO HASS c USA i 655: 00 55.00
AVOCADO HASS# RIPE MEX 3 57.00 171.00
MANGO MEXICAN c MEX 5 4.50 22.50
TOMATO #1 5X6 USA 1 28.00 28.00
TOMATO GRAPE R USA 2 16.00 32.00
TOMATO GRAPE YE USA 1 23.00 23.00
LETTUCE . ICEBERG A USA 1 17.00 17.00
ROMAINE CA-A USA 1 16.00 16.00
CAULIFLOWER c USA 2 19.00 38.00
BROCCOLI CROWN CROW USA 2 11.00 22.00
CELERY c USA 1 17.00 17.00
SPINACH BABY BA/SP USA 4 6.50 26.00
ALFALFA CUP USA 1, 12,00 12.00
BRUSSEL SP LOOSE USA 1 17.00 17.00
SHALLOT JAR/5LB Su#5 USA 1. 11,00 11.00
BASIL ISRAEL Is ISR 1 13.00 13.00
BABY ARRUGULA BA USA 2 10.50 21.00
CILANTRO c USA 1 17.00 17.00
PEPPER GREEN GR USA 1 13.00 13.00
PEPPER RED RED USA 1 25.00 25.00
YELLOW PEPPER YELL USA 1 15.00 15.00
JALAPINO JALPN HOL 1 17.00 17.,.00
CUCUMBER CUM MEX 2 28.00 56.00 Total Boxes: 96.0
SQUASH GREEN GR USA 1 16.00 16.00 Delivery $ 124.80
SQUASH YELLOW YEL MEX 1 21.00 21.00
GARLIC JAR J/15L CHN 1 42.00 42.00 Shipment 2,015.30
GINGER 10LB 10LB CHN 1 16.00 LGcO0 | ses nee
MUSHROOM WASH 10LB USA 1 17.00 17.00
PORTABELLA MUS M PO2 USA 2 9.50 19.00 Cash Receipt:
POTATO IDAHO 90 USA 1 24.00 24000 | seca eee eee eee
POTATO RED A BOX BOX A USA 1 30.00 30.00
CARROT LOOSE LOOSE USA 1 23.00 23.00 Signature
ONION SPANISH SPI USA 1; 15:00 15.00
Printed on Oct 12, 2020 *eeeee Balance : 327,015.97

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural

commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S Case 1:20-cv-08786-GHW Document 10-11 FAied: 10/266Z280Bage 20 Bik27347)438-1053

 

 

 

 

INVOICE
ShipTo: # 93LES ESSEN 22 LLC Invoice No. 342870
699 GAve 22st
NY, NY 10010 Date 02/25/2020
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
RED EX FANCY 80 USA 1 30.00 30.00
GRANNY SMITH 80 USA 1 29.00 29.00
STAR RUBY Cc USA 1 28.00 28.00
HONEY TANGERINE 100 USA 1 40.00 40.00
JUICE ORANGE 100 USA 3 19.00 57.00
STRAWBERRY CAL USA 4 10.00 40.00
RASPBERRY A USA 3 34.00 102.00
BLUEBERRY A USA 3 33.00 99.00
BLACKBERRY A USA 2 12.00 24.00
AVOCADO HASS# RIPE MEX 3 57:00 171.60
PAPAYA BIG BOX RED MEX 1 32.00 32.00
MANGO MEXICAN Cc MEX 6 4.50 27.00
TOMATO #1 5X6 USA 2 28.00 56.00
TOMATO PLUM c MEX 1 40.00 40.00
TOMATO GRAPE R USA 2 16.00 32.00
ROMAINE CA-A USA 2 15.00 30.00
CABBAGE RED RED USA 1 19.00 19.00
CAULIFLOWER c USA 3 21.00 63.00
BROCCOLI CROWN CROW USA 3 11.00 33.00
ASPARAGUS LG USA 1 20.00 20.00
CELERY Cc USA 1 17.00 17.00
SPINACH BUSH USA 1 22.00 22.00
SPINACH BABY BA/SP USA 6 6.50 39.00
GREEN KALE KALE USA 1 15..00 15.00
BRUSSEL SP LOOSE USA 1 17.00 17.00
BABY ARRUGULA BA USA 6 10.50 63.00
CILANTRO c USA 1 17.00 17.00
PEPPER GREEN GR USA 1 13.00 13.00
PEPPER RED RED USA 1 18.00 18.00
YELLOW PEPPER YELL USA 2 14.00 28.00
CUCUMBER CUM MEX 2 28.00 56.00
GINGER 10LB 10LB CHN 1 16.00 16.00
MUSHROOM WASH 10LB USA 2 17.00 34.00
MUSH SPECIAL 10SP USA 2 18.00 36.00
PORTABELLA MUS M PO2 USA 3 9.50 28.50
EGGPLANT c USA 1 15.00 15.00
POTATO IDAHO 90 USA 1 24.00 24.00
CARROT LOOSE LOOSE USA 2 22.00 44.00 Total Boxes: 103.0
ONION RED RD-J USA 1 11.00 11.00 Delivery $ : 133.90
SPROUT BEAN USA 2 8.00 16.00
PINE GOLDEN GOL USA 1 17.00 17.00] Shipment : 1,953.40
BANANA BNA ECU 2 18.50 37.00 | ----------------------------------------------
MESCLUN SALAD MESC USA 12 7.00 84.00
EGG EX/LOOSE EXLOO USA 4 29.00 116.00 Cash Receipt:
CHEESE FETTA CH/FE USA 1 49.00 $909 | ees
SCALLION KING USA 1 15.00 15.00

 

Signature

 

 

Printed on Oct 12,

2020

kkekeke% Balance : 327,474.67

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S Case 1:20-cv-08786-GHW Document 10-11 FPiibee:10/8B/@RR8RBage 21 Bix27 347)438-1053

 

 

 

 

 

 

 

 

INVOICE
Ship To: # 9LES ESSEN 22 LLC Invoice No. 342933
699 6Ave 22st
NY, NY 10010 Date 02/26/2020
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
GRANNY SMITH 80 USA 1 29.00 29.00] CHEESE FETTA CH/FE USA 1 49.00 49.00
WATERMELON SEED USA 1 42.00 42.00
CANTALOUP Cc USA 1 10.00 10.00
JUICE ORANGE 100 USA 2 19.00 38.00
SUNKIST ORANGE 56 USA 1 26.00 26.00
LEMON SK SK/L USA 1 28.00 28.00
STRAWBERRY XE USA 5 11.00 55.00
RASPBERRY A USA 2 33.00 66.00
BLUEBERRY A USA 2 34.00 68.00
BLACKBERRY A USA 2 12.00 24.00
AVOCADO HASS Cc USA 1 54.00 54.00
AVOCADO HASS# RIPE MEX 3 57.00 171.00
MANGO MEXICAN Cc MEX 7 5.00 35.00
TOMATO #1 5X6 USA 1 26.00 26.00
TOMATO PLUM Cc MEX 1 38.00 38.00
TOMATO GRAPE R USA 2 27.00 34.00
ROMAINE CA-A USA 2 15.00 30.00
CAULIFLOWER c USA 2 21.00 42.00
BROCCOLI CROWN CROW USA 3 10.00 30.00
ASPARAGUS LG USA 1 19.00 19.00
CELERY c USA 1 16.00 16.00
SPINACH BABY BA/SP USA 6 6.50 39.00
GREEN KALE KALE USA 2 15.00 30.00
ALFALFA CUP USA 1 12.00 12.00
BRUSSEL SP LOOSE USA 1. 22.00 LO
BABY ARRUGULA BA USA 4 10.50 42.00
BEETS 25LB LBAG CAN 1 10.00 10.00
PEPPER RED RED USA 1 18.00 18.00
YELLOW PEPPER YELL USA 1 13.00 13.00
JALAPINO JALPN HOL 1 17.00 17.00
CUCUMBER CUM MEX 2 36.00 72.00
SQUASH GREEN GR USA 1 14.00 14.00
GARLIC JAR J10LB CHN 1 27.00 27.00
SHANGHAI BOKCHOY SH/BK USA 1 26.00 26.00
GINGER 10LB 10LB CHN 1 16.00 16.00
MUSHROOM WASH 10LB USA 2 Lee 34.00
MUSH SPECIAL 10SP USA 2 18.00 36.00
PORTABELLA MUS M PO2 USA 3 9.50 28.50 Total Boxes: 102.0
POTATO IDAHO 90 USA 2 24.00 48.00 Delivery § : 132.60
POTATO RED A BOX BOX A USA 1 30.00 30.00
CARROT LOOSE LOOSE USA 1 22.00 22.00 Shipment ; i,/972.10
ONION SPANISH SPI USA 2 15.00 30,00 | SSh=s9e3sSss— Ssh errr rrr ee
ONION RED RD-J USA 1 11.00 11.00
PINE GOLDEN GOL USA 2 17.00 34.00 Cash Receipt:
BANANA BNA ECU 2 18.50 S00 | enn 2 Son Se
PLANTAIN YELLOW c ECU 1 24.00 24.00
MESCLUN SALAD MESC USA 11 7.00 77.00 Signature
EGG EX/LOOSE EXLOO USA 5 29.00 145.00
Printed on Oct 12, 2020 *wekeee* Balance : 327,584.87

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other

products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S

Case 1:20-cv-08786-GHW Document 10-11 Phhed :10/3b/eR28@Bage 22 Bin27 347)438-1053

 

 

 

 

 

 

 

INVOICE
ShipTo: # 9LES ESSEN 22 LLC Invoice No. 343002
699 GAve 22st
NY, NY 10010 Date 02/27/2020
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
GRANNY SMITH 80 USA 1 29.00 29.00 | MESCLUN SALAD MESC USA 10 7.00 70.00
STAR RUBY & USA 1 28.00 28.00 | EGG EX/LOOSE EXLOO USA 4 29.00 116.00
SEEDLESS GREEN GR USA 1 28.00 28.00 | CHEESE FETTA CH/FE USA 1 49.00 49.00
NECTARINE CALI c USA 1 23.00 23.00 | HERBS CHIVE CHIV USA 1 10.00 10.00
KIWI LOOSE LLOO USA 1 25.00 25.00] SCALLION KING USA 1 14.00 14.00
HONEY DEW c USA 1 9.00 9.00
JUICE ORANGE 100 USA 1 19.00 19.00
STRAWBERRY XF USA 4 14.00 56.00
RASPBERRY A USA 3 30.00 90.00
BLUEBERRY A USA 3 33.00 99.00
BLACKBERRY A USA 2 10.00 20.00
AVOCADO HASS# RIPE MEX 3 57.00 171.00
MANGO MEXICAN C MEX 6 5.00 30.00
TOMATO #1 5X6 USA 1 26.00 26.00
TOMATO GRAPE R USA 2 16.00 32.00
TOMATO GRAPE YE USA 1 20.00 20.00
ROMAINE CA-A USA 2 15.00 30.00
CABBAGE GR GR USA 1 13.00 13.00
CAULIFLOWER c USA 3 21.00 63.00
BROCCOLI CROWN CROW USA 2 10.00 20.00
ASPARAGUS LG USA 1 18.00 18.00
CELERY c USA 1 16.00 16.00
SPINACH BABY BA/SP USA 6 6.50 39.00
GREEN KALE KALE USA 1 16.00 16.00
ENDIVES A USA 1 17.00 17.00
BRUSSEL SP LOOSE USA 1 17.00 17.00
MINT A USA 1 15.00 15.00
BABY ARRUGULA BA USA 3 10.50 31.50
PEPPER GREEN GR USA 1 12.00 1200
PEPPER RED RED USA 1 17.00 17.00
YELLOW PEPPER YELL USA 1 12,00 12.00
CUCUMBER CUM MEX 1 30.00 30.00
SQUASH GREEN GR USA i: 13.00 13.00
SQUASH YELLOW YEL MEX 1 25.00 25.00
GARLIC JAR J5LB CHN i; 23.50 13.50
MOO Cc USA 1 18.00 18.00
GINGER 10LB 10LB CHN 1 16.00 16.00
MUSHROOM WASH 10LB USA 2 17.00 34.00 Total Boxes: 99.0
MUSH SPECIAL 10SP USA 2 18.00 36.00 Delivery $ : 128.70
PORTABELLA MUS M PO2 USA 4 9.50 38.00
YAM #1 YAM USA 1 19.00 19.00 Shipment 1,827.70
POTATO IDAHO 90 USA 1 24.00 24.00 | --n marr rrr nnn rte nnn nee nn-
CARROT LOOSE LOOSE USA 1 22.00 22.00
ONION SPANISH SPI USA 1 15.00 15.00 Cash Receipt:
SPROUT BEAN USA 1 8.00 Gens | oom nie
PINE GOLDEN GOL USA 2 16.00 32.00
BANANA BNA ECU 2 18.50 37.00 Signature
LEMON GRASS LE/GR USA 1 18.00 18.00
Printed on Oct 12, 2020 kkeeee Balance : 327,491.17

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural

commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved,
K&S Case 1:20-cv-08786-GHW Document 10-11 Pied 1Q/AReArshage 23 GE2! 347)438-1053

 

 

 

 

 

 

 

INVOICE
ShipTo: # 9LES ESSEN 22 LLC Invoice No. 343066
699 6Ave 22st
NY, NY 10010 Date 02/28/2020
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
RED EX FANCY 80 USA 1 30.00 30.00
STAR RUBY Cc USA Ll 28.00 28.00
SEEDLESS RED RED USA 1 28.00 28.00
WATERMELON SEED USA 1 45.00 45.00
HONEY DEW c USA iL 9.00 9.00
JUICE ORANGE 100 USA 1 19.00 19.00
SUNKIST ORANGE 56 USA 1 26.00 26.00
STRAWBERRY XF USA 5 13.00 65.00
RASPBERRY A USA 3 26.00 78.00
BLUEBERRY A USA 4 33.00 132.00
BLACKBERRY A USA 2 10.00 20.00
AVOCADO HASS Cc USA 1 54.00 54.00
AVOCADO HASS# RIPE MEX 3 56.00 168.00
MANGO MEXICAN Cc MEX 6 5.00 30.00
TOMATO #1 5X6 USA 2 26.00 52.00
TOMATO GRAPE R USA 2 17.00 34.00
ROMAINE CA-A USA 2 15.00 30.00
CAULIFLOWER Cc USA 2 23.00 46.00
BROCCOLI CROWN CROW USA 1 10.00 10.00
SPINACH BUSH USA 1 20.00 20.00
SPINACH BABY BA/SP USA 6 6.50 39.00
GREEN KALE KALE USA 1 15.00 15.00
ALFALFA CUP USA 1 12.00 12.00
BASIL ISRAEL Is ISR 1 13.00 13.00
BABY ARRUGULA BA USA 4 10.50 42.00
CILANTRO é USA 1 17.00 17.00
BEETS 25LB LBAG CAN 1 10.00 10.00
PEPPER GREEN GR USA 1 12.00 12.00
PEPPER RED RED USA 1 17.00 17.00
YELLOW PEPPER YELL USA 1 12.00 12.00
JALAPINO JALPN HOL 1 17.00 17.00
CUCUMBER CUM MEX 2 30.00 60.00
SQUASH GREEN GR USA 1 14.00 14.00
GINGER 10LB 10LB CHN 1 16.00 16.00
MUSHROOM WASH 10LB USA 2 17.00 34.00
MUSH SPECIAL 10SP USA 2 18.00 36.00
PORTABELLA MUS M PO2 USA 2 9.50 19.00
EGGPLANT c USA i 15,00 15.00 Total Boxes: 93.0
POTATO IDAHO 90 USA 1 24.00 24.00 Delivery $ : 120.90
POTATO RED A BOX BOX A USA 1 30.00 30.00
CARROT LOOSE LOOSE USA 2 22.00 44.00 Shipment : 1,851.90
ONION SPANISH SPI USA 1 15.00 15.00 | --~--~------------------------------------------
ONION RED RD-J USA 1. ‘£4...00 11.00
PINE GOLDEN GOL USA 2 16.00 32.00 Cash Receipt:
BANANA BNA ECU 2 18.50 37.00 | ----------------------------------- - = = ===
MESCLUN SALAD MESC USA 7 7.00 49.00
EGG EX/LOOSE EXLOO USA 4 29.00 116.00 Signature
CHEESE FETTA CH/FE USA 1 49.00 49.00
Printed on Oct 12, 2020 kekk**k Balance : 327,412.87

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 3(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S Case 1:20-cv-08786-GHW Document 10-11 Pied 1G/@}/@Aoshkage 24 Ghe? 347)438-1053

 

 

 

 

 

 

 

 

INVOICE
ShipTo: # 9LES ESSEN 22 LLC Invoice No. 343154
699 6Ave 22st
NY, NY 10010 Date 03/02/2020
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
RED EX FANCY 80 USA 1 30.00 30.00
GRANNY SMITH 80 USA 1 29.00 29.00
STAR RUBY Cc USA 1 28.00 28.00
KIWI LOOSE LLOO USA 1 25.00 25.00
WATERMELON SEED USA 1 45.00 45.00
CANTALOUP c USA 1 11,00 11.00
HONEY DEW Cc USA 1 0.00 0.00
JUICE ORANGE 100 USA 5 19.00 95.00
SUNKIST ORANGE 56 USA 1 25.00 25.00
LEMON SK SK/L USA 1 28.00 28.00
STRAWBERRY XE USA 5 12.00 60.00
RASPBERRY A USA 3 24.00 72.00
BLUEBERRY A USA 3 33.00 99.00
BLACKBERRY A USA 2 12.00 24.00
PAPAYA BIG BOX RED MEX 1 34.00 34.00
MANGO MEXICAN ce MEX 7 5.00 35.00
TOMATO #1 5X6 USA 2 24.00 48.00
TOMATO GRAPE R USA 2 16.00 32.00
LETTUCE . ICEBERG A USA 1 15.00 15.00
ROMAINE CA-A USA 2 14.00 28.00
CAULIFLOWER Cc USA 2 22,00 66.00
BROCCOLI CROWN CROW USA 2 11.00 22.00
RABE ANDY USA L (355.00 35.00
ASPARAGUS LG USA 1 15.00 15.00
CELERY Cc USA 1 16.00 16.00
SPINACH BABY BA/SP USA 5 6.50 32.50
GREEN KALE KALE USA 1. 26.00 16.00
BRUSSEL SP LOOSE USA 1 18.00 18.00
SHALLOT JAR/5LB SJ#5 USA L 22300 11.00
BABY ARRUGULA BA USA 4 10.50 42.00
PEPPER GREEN GR USA 1 15.00 15.00
YELLOW PEPPER YELL USA 2 12.00 24.00
SQUASH GREEN GR USA 1 21.00 21.00
SQUASH YELLOW YEL MEX 1; 33.00 33.00
GINGER 10LB 10LB CHN 1 16.00 16.00 Credit : 1.30
MUSHROOM WASH 10LB USA 2 17.00 34.00
MUSH SPECIAL 10SP USA 2 18.00 36.00
PORTABELLA MUS M PO2 USA 3 9.50 28.50 Total Boxes: 92.0
ONION SPANISH SPI USA 1 14.00 14.00 Delivery $ : 119.60
ONION RED RD-J USA 1 11.00 11.00
TOFU s USA 1 14.00 14.00 Shipment : 1,614.30
SPROUT BEAN USA 1 8.00 8.00 | ----------- 7-25 nnn 7-55 === 5 = ----------------
BANANA BNA ECU 2 18.50 37.00
MESCLUN SALAD MESC USA 6 7.00 42.00 Cash Receipt:
EGG EX/LOOSE EXLOO USA 4 29.00 116.00} ----------------------------------------------
HERBS CHIVE CHIV USA 1 10.00 10.00
Signature
Printed on Oct 12, 2020 *#*k**k* Balance : 327,436.67

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S Case 1:20-cv-08786-GHW Document 10-11 Filed 10/@6/@0z8Rage 25 Of27 347)438-1053

 

 

 

 

 

 

 

INVOICE
ShipTo: # 9LES ESSEN 22 LLC Invoice No. 343196
699 6GAVe 22st
NY, NY 10010 Date 03/03/2020
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
GRANNY SMITH 80 USA 1 29.00 29.00 | SCALLION KING USA 1 14.00 14.00
STAR RUBY Cc USA 1 28.00 28.00
NECTARINE CALI Cc USA i 23.00 23.00
STRAWBERRY CAL USA 4 12.00 48.00
RASPBERRY A USA 3 20.00 60.00
BLUEBERRY A USA 2 33.00 66.00
BLACKBERRY A USA 2 13.00 26.00
AVOCADO HASS Cc USA 1 52.00 52.00
AVOCADO HASS# RIPE MEX 3 54.00 162.00
MANGO MEXICAN Cc MEX 5 550 27.50
LIME 48 MEX i 8.00 8.00
TOMATO #1 5X6 USA 2 24.00 48.00
TOMATO PLUM Cc MEX 1 26.00 26.00
TOMATO GRAPE R USA 1 15.00 15.00
TOMATO GRAPE YE USA 1 24.00 24.00
ROMAINE CA-A USA 3 14.00 42.00
CABBAGE RED RED USA 1 19.00 19.00
CAULIFLOWER Cc USA 3 24.00 72.00
BROCCOLI CROWN CROW USA 3 21.00 33.00
ASPARAGUS LG USA 1 15.00 15.00
CELERY Cc USA 1 16.00 16.00
SPINACH BUSH USA 1 20.00 # £20.00
SPINACH BABY BA/SP USA 6 6.50 39.00
GREEN LEAF GR USA 1 14.00 14.00
GREEN KALE KALE USA 2 15.00 30.00
SNOWPEA A USA 1 19.00 19.00
ALFALFA CUP USA 1 12.00 12.00
BRUSSEL SP LOOSE USA 1 18.00 18.00
BASIL ISRAEL rs IsR 1 13.00 13.00
BABY ARRUGULA BA USA 6 10.50 63.00
CILANTRO Cc USA 1 17.00 17.00
PEPPER RED RED USA 1 16.00 16.00
YELLOW PEPPER YELL USA { 12-00 12.00
JALAPINO JALPN HOL 1 17.00 17.00
CUCUMBER CUM MEX 2 26.00 52.00
GINGER 10LB 10LB CHN 1 16.00 16.00
MUSHROOM WASH 10LB USA 2 17.00 34.00
MUSH SPECIAL 10SP USA 2 18.00 36.00 Total Boxes: 101.0
PORTABELLA MUS M PO2 USA 2 9.50 19.00] Delivery §$ : 131.30
POTATO IDAHO 90 USA 3 24.00 72.00
CARROT LOOSE LOOSE USA 1 22.00 22.00 Shipment s 4d) 620.30
ONION SPANISH SPI USA 1 14.00 14.00 | wr rr tet n ann nnn nnn nn nn een ene nes +
ONION RED RD-J USA a; L200 11.00
PINE GOLDEN GOL USA 2 16.00 32.00 Cash Receipt:
BANANA BNA ECU 2 18.50 37200 | ceete stn ee
MESCLUN SALAD MESC USA 11 7.00 77.00
EGG EX/LOOSE EXLOO USA 4 29.00 116.00] Signature
HERBS ROSEMARY ROSE CHL 1 7.50 TeSO
Printed on Oct 12, 2020 **eek* Balance : 327,199.07

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S Case 1:20-cv-08786-GHW Document 10-11 ile 16/RH/eA2shAGe 26 4627 347)438-1053

 

 

 

 

INVOICE
ShipTo: # 9LES ESSEN 22 LLC Invoice No. 343255
699 6Ave 22st
NY, NY 10010 Date 03/04/2020
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
GRANNY SMITH 80 USA 1 29.00 29.00
STAR RUBY Cc USA 1 28.00 28.00
SEEDLESS RED RED USA 1 30.00 30.00
WATERMELON SEED USA 1 45.00 45.00
HONEY DEW ¢ USA 1 9.00 9.00
JUICE ORANGE 100 USA 2 19.00 38.00
SUNKIST ORANGE 56 USA 1. 25.00 25.00
STRAWBERRY XF USA 4 18.00 72.00
RASPBERRY A USA 2 20.00 40.00
BLUEBERRY A USA 2 33.00 66.00
BLACKBERRY A USA 2 13.00 26.00
AVOCADO HASS# RIPE MEX 3 54.00 162.00
MANGO MEXICAN Cc MEX 5 5.50 27.50
TOMATO #1 5X6 USA 1 22.00 22.00
TOMATO GRAPE R USA 2 14.00 28.00
ROMAINE CA-A USA 2 14.00 28.00
CABBAGE GR GR USA 1 14.00 14.00
CAULIFLOWER Cc USA 2 22.00 44.00
BROCCOLI CROWN CROW USA 2 11.00 22.00
ASPARAGUS LG USA LE 232090 13.00
SPINACH BABY BA/SP USA 6 6.50 39.00
GREEN COLLARD COALD USA i 15:00 15.00
GREEN KALE KALE USA 1 15.00 15.00
BRUSSEL SP LOOSE USA 1 18.00 18.00
BABY ARRUGULA BA USA 6 10.50 63.00
BEETS 25LB LBAG CAN 1 10.00 10.00
PEPPER GREEN GR USA 1 18.00 18.00
PEPPER RED RED USA 1 15.00 15.00
YELLOW PEPPER YELL USA 2 10.00 20.00
CUCUMBER CUM MEX 1 28.00 28.00
SHANGHAI BOKCHOY SH/BK USA 1 24.00 24.00
GINGER 10LB 10LB CHN 1 16.00 16.00
MUSHROOM WASH 10LB USA 2 17.00 34.00
MUSH SPECIAL 10SP USA 2 18.00 36.00
PORTABELLA MUS M PO2 USA 2 9.50 19.00
EGGPLANT c USA 1 21.00 21.00
POTATO RED A BOX BOX A USA 1 31.00 # 31.00
CARROT LOOSE LOOSE USA 1 22.00 22.00 Total Boxes: 93.0
ONION SPANISH SPI USA 1 14.00 14.00 Delivery $ : 120.90
ONION RED RD-J USA 1 11.00 11.00
SPROUT BEAN USA i 8.00 8.00 Shipment 1,712.40
PINE GOLDEN GOL USA 2 16.00 32.00 | ------~---------~----~-------------------------
BANANA BNA ECU 2 18.50 37.00
MESCLUN SALAD MESC USA 10 7.00 70.00 Cash Receipt:
EGG EX/LOOSE EXLOO USA 5 29.00 145.00] ----------------------------------------=--+---
CHEESE FETTA CH/FE USA 1 49.00 49.00
SCALLION KING USA 1 13.00 13.00 Signature

 

 

 

Printed on Oct 12, 2020

kk*k*k* Balance : 327,405.07

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S&

Case 1:20-cv-08786-GHW Document 10-11 FRiet 10/9662680Rage 27 KAK27347)438-1053

 

 

 

 

INVOICE
ShipTo: # 9LES ESSEN 22 LLC Invoice No, 343325
699 6GAve 22st
NY, NY 10010 Date 03/05/2020

Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount

GRANNY SMITH 80 USA 1 30.00 30.00

JUICE ORANGE 100 USA 1 19.00 19.00

LEMON SK SK/L USA 1 28.00 28.00

STRAWBERRY XF USA 4 16.00 64.00

RASPBERRY A USA 2 18.00 36.00

BLUEBERRY A USA 2 33.00 66.00

BLACKBERRY A USA 2 11.00 22.00

AVOCADO HASS# RIPE MEX 2 53.00 106.00

MANGO MEXICAN Cc MEX 4 5), 50 22.00

TOMATO #1 5x6 USA 2 22.00 44.00

TOMATO PLUM C¢ MEX 1 21.00 21.00

TOMATO GRAPE R USA 2 14.00 28.00

ROMAINE CA-A USA 3 14.00 42.00

BROCCOLI CROWN CROW USA 2 12.00 24.00

ASPARAGUS LG USA 1 13.00 13.00

SPINACH BUSH USA 1 20.00 20.00

SPINACH BABY BA/SP USA 5 6.50 32.50

GREEN KALE KALE USA 1 15.00 15.00

BRUSSEL SP LOOSE USA 1 19.00 19.00

BABY ARRUGULA BA USA 4 10.50 42.00

BEETS 25LB LBAG CAN 1 10.00 10.00

PEPPER GREEN GR USA 1 19.00 19.00

PEPPER RED RED USA 1 16.00 16.00

YELLOW PEPPER YELL USA 1 10.00 10.00

JALAPINO JALPN HOL 1 17.00 17.00

CUCUMBER CUM MEX 2 27.00 54.00

SQUASH YELLOW YEL MEX 1 29.00 29.00

GINGER 10LB 10LB CHN 1 16.00 16.00

MUSHROOM WASH 10LB USA 1 17.00 17.00

MUSH SPECIAL 10SP USA 1 18.00 18.00

PORTABELLA MUS M PO2 USA 2 9.50 19.00

YAM #1 YAM USA 1 18.00 18.00

POTATO IDAHO 90 USA 1 24.00 24.00

CARROT LOOSE LOOSE USA 1 22.00 22.00

PINE GOLDEN GoL USA 1 16.00 16.00

BANANA BNA ECU 2 18.50 37.00

PLANTAIN YELLOW Cc ECU 1 23.00 23.00

MESCLUN SALAD MESC USA 11 7.00 77.00 Total Boxes: 77.0

EGG EX/LOOSE EXLOO USA 4 29.00 116.00] Delivery $ 100.10
Shipment 1,351.60
Cash Receipt:
Signature

 

 

 

Printed on Oct 12, 2020

eeeeee Balance

: 327,297.17

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities. all inventories of food or other
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